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                  UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF OKLAHOMA

1)      BRENAN COLE,
2)      RACHEL COLE,
3)      AUSTIN HODGE, and
4)      HANNAH HODGE,

             Plaintiffs,
vs.                                       Case No.: CIV-2022-044-R

1)      AMC WEST HOUSING, LP, a           (District Court of Oklahoma
        foreign limited partnership;       County, Case No. CJ-2021-3723)
2)      BALFOUR BEATTY
        COMMUNITIES, a foreign
        limited liability company;
3)      STEAMMART LLC, an
        Oklahoma limited liability
        company;
4)      GREGG PETERSON
        CONSTRUCTION GROUP
        LLC, an Oklahoma limited
        liability company;
5)      RICK CUNEFARE; and
6)      CC-1-CC-10 UNINDICTED
        CO-CONSPIRATORS IN USA
        v. RICK CUNEFARE 21-CR-
        319-EGS,

             Defendants.




      DISCLOSURE STATEMENT IDENTIFYING CONSTITUENTS OF
            DEFENDANTS AMC WEST HOUSING, LP AND
              BALFOUR BEATTY COMMUNITIES, LLC
                 PURSUANT TO LOCAL RULE 7.1.1
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         COME NOW Defendants AMC West Housing, LP and Balfour Beatty

Communities, LLC, and pursuant to LCvR 7.1.1 make the following

disclosures:

         1.        AMC West Housing, LP, is a limited partnership organized under

the law of the State of Delaware with its principal place of business in Malvern,

Pennsylvania.

         2.        The partners of AMC West Housing, LP are BBC Military Housing

– AMC Limited Partner LLC and BBC Military Housing – AMC General

Partner LLC, which are both limited liability companies organized under the

laws of the State of Delaware, with their principal places of business in

Malvern, Pennsylvania.

         3.        BBC Military Housing – AMC Limited Partner LLC and BBC

Military Housing – AMC General Partner LLC are owned by Balfour Beatty

Military Housing Investments LLC.

         4.        Balfour Beatty Military Housing Investments LLC is a limited

liability company organized under the laws of the State of Delaware, with its

principal place of business in Malvern, Pennsylvania.

         5.        Balfour Beatty Military Housing Investments LLC is owned by

Defendant Balfour Beatty Communities, LLC, which is owned by Balfour

Beatty LLC, which is owned by Balfour Beatty Holdings, Inc., which is owned

by Balfour Beatty Overseas Investments Limited, which is owned by Balfour


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Beatty Investments Holdings Limited, all of which are organized under the

laws of the State of Delaware, with their principal places of business in

Malvern, Pennsylvania.

      6.      Balfour Beatty Investments Holdings Limited is owed by Balfour

Beatty plc.

      7.      Balfour Beatty plc is a publicly held company that trades on the

London Stock Exchange under the ticker BBY.L.

      Dated: April 15, 2022



                                     s/ W. Brett Willis
                                     W. Brett Willis, OBA #15168
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                                            &




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                                    Tina A. Syring-Petrocchi (pro hac vice)
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                                    ATTORNEY FOR DEFENDANTS
                                    AMC WEST HOUSING, LP AND BBC
                                    AF MANAGEMENT/DEVELOPMENT
                                    LLC


                       CERTIFICATE OF SERVICE

      This is to certify that on the 15th day of April, 2022, I electronically

transmitted the attached document to the Clerk of Court using the ECF

System for filing and transmittal of a Notice of Electronic Filing was sent to

the following ECF registrants:

      Caleb M. Salmon, OBA #32272
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      ATTORNEYS FOR PLAINTIFFS


                                    s/ W. Brett Willis
                                    W. Brett Willis



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